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March 31, 2025

Hon. Ona T. Wang
United States Magistrate Judge
Southern District of New York

Re: The New York Times Company v. Microsoft Corporation, et al., 1:23-cv11195; Daily News,
LP, et al. v. Microsoft Corporation, et al., 1:24-cv-3285

Dear Judge Wang:

OpenAI submits this letter in response to the letter filed by The New York Times and Daily
News Plaintiffs at ECF 483.1 As Plaintiffs recounted, the Parties have been following the
Court’s directive to confer “regarding the privacy and technological considerations implicated in
Plaintiffs’ request” regarding user data retention. ECF 441. During the Parties’ conferrals,
OpenAI told Plaintiffs that it was actively investigating whether it possessed the retention
statistics Plaintiffs sought and that, if it did, OpenAI expected to provide that information to
Plaintiffs. It is thus unclear why Plaintiffs chose to burden the Court with this matter. In any
event, and as explained below, OpenAI has already provided Plaintiffs with the information they
requested, where such information is available.

OpenAI has investigated and confirmed, based on its reasonable investigation, what data exists
in connection with Plaintiffs’ demands and has relayed that information to Plaintiffs in writing.
Specifically, OpenAI has provided Plaintiffs with context for the data Plaintiffs have requested,
including details regarding the tens of billions of ChatGPT Free, Pro, and Plus user conversations
that have been retained. OpenAI informed Plaintiffs of the estimated fraction of ChatGPT Free,
Pro, and Plus conversations that have not been retained, in light of OpenAI’s policies and
pursuant to individual user’s requests, since December 27, 2023, along with a chart showing the
timeline of conversations not retained over time. OpenAI has also confirmed for Plaintiffs that
the ChatGPT Free, Pro, and Plus conversation data that has not been retained is not retrievable.
Finally, OpenAI informed Plaintiffs that it does not track, and thus does not have available, the
number of API Platform completions or ChatGPT Enterprise conversations that have not been
retained, and that such data is not retrievable either.

OpenAI looks forward to continuing to work with Plaintiffs to find a path forward that ensures
user privacy interests are protected, while permitting Plaintiffs access to the tens of billions of

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 Docket numbers refer to the docket in The New York Times Company v. Microsoft Corporation,
et al., 1:23-cv11195.
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ChatGPT conversations that are available for sampling and analysis. As there is no outstanding
dispute for the Court to adjudicate with respect to Plaintiffs’ motion at ECF 483, OpenAI
requests that the Court deny the motion as moot.



KEKER, VAN NEST &                LATHAM & WATKINS LLP                 MORRISON & FOERSTER
PETERS LLP                                                            LLP

/s/ Christopher S. Sun*          /s/ Elana Nightingale Dawson         /s/ Joseph C. Gratz*
Christopher S. Sun                Elana Nightingale Dawson            Joseph C. Gratz




* All parties whose electronic signatures are included herein have consented to the filing of this

document.
